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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                  CASE NO.: 0:21-cv-61167-WPD
  HOWARD COHAN

         Plaintiff,

  vs.

  TEXAS ROADHOUSE HOLDINGS LLC;
  TEXAS ROADHOUSE MANAGEMENT CORP.,
        Defendant(s).
  ____________________________________/

                      STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff HOWARD COHAN, and Defendants

  TEXAS ROADHOUSE HOLDINGS, LLC, and TEXAS ROADHOUSE MANAGEMENT

  CORP., stipulate to the dismissal of this action, with prejudice and with no award of fees or costs

  to any party.

  Dated: October 27, 2021

  Respectfully submitted,


   By: /s/ Gregory S. Sconzo                        By: /s/ Courtney B. Wilson
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                                 CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that on October 27, 2021, a true and correct copy of the

  foregoing was served via transmission of Notice of Electronic Filing generated by CM/ECF on all

  counsel of record.

                                                     s/ Gregory S. Sconzo
                                                     Gregory S. Sconzo, Esq.
